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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
                v.                            :
                                              :       CRIMINAL NO. 21-cr-000374-APM-1
LOGAN GROVER                                  :
    (AKA Logan V R Grover),                   :
                                              :
                         Defendant.           :

  RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS BASED
UPON DEFECTIVE INFORMATION AND UNCONSTITUTIONAL VAGUENESS AND
     OVERBREATH AND IN THE ALTERNATIVE MOTION FOR BILL OF
                           PARTICULARS

        Defendant Logan Grover (“Grover”), who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved pursuant to Federal Rules of Criminal Procedure Rule

12(b)(3)(B) to dismiss the Information based on claims that the Information was defective because:

“1) the lack of factual grounds identified for the charged offenses rendering the Complaint [sic]

defective, and 2) the unconstitutionally vague and overbroad nature of the relevant statutes.” 1 ECF

No. 41 at 1. Alternatively, Grover moves the Court for a bill of particulars. Id. Grover has failed

to establish under Rule 12(b)(3)(B)(v) that the Information does not state the charged offenses.

Further, Grover has failed to establish the charges are unconstitutionally vague or overbroad. Nor

based on the plain, concise, and definite statement alleging Grover’s offenses and voluminous

discovery the Government has provided and continues to provide has Grover established the need

for a bill of particulars.




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  Grover appears to seek dismissal of all the counts in the Information, see ECF No. 41 at 1, yet
in the concluding paragraph, id. at 11, he moves “the Court to dismiss counts two through four of
the Complaint [sic].”
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                                        BACKGROUND

                                Factual and Procedural History

        On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. ECF No. 1-1 at 1. The United States Capitol is secured 24 hours a day by

the United States Capitol Police. Id. Restrictions around the United States Capitol Police include

both permanent and temporary security barriers and manned security posts. Id. On January 6,

2021, the exterior of the plaza to the Capitol was closed to the public and only individuals

authorized with appropriate identification were permitted access inside the United States Capitol.

Id. While the certification process was proceeding, a large crowd gathered outside the United

States Capitol, entered the restricted grounds, and forced entry into the Capitol building. Id. As a

result, the Joint Session and the entire official proceeding of the Congress was halted until law

enforcement was able to clear the Capitol of hundreds of unlawful occupants and ensure the safety

of elected officials. Id.

        Based on evidence gathered during the investigation, at approximately 2:46 p.m. Grover

was wearing a green jacket, red hat with white lettering, blue jeans, and green gloves when he

entered the fenced boundary of restricted Capitol grounds by stepping over the fence. Grover

proceeded across Capitol grounds towards the U.S. Capitol. At 3:15 p.m., Grover was on the East

side of the Capitol near the outer Eastern Doors of the Rotunda. Grover then entered the Capitol.

Approximately three minutes later, Grover was in the Rotunda where he remained until

approximately 3:20 p.m. and during which time a physical altercation between rioters and officers

occurred. Grover left the Rotunda but remained inside the Capitol Building. Video footage from

an officer’s body-worn-camera time stamped at 3:27 p.m. depicted Grover looking at his cellular



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phone as law enforcement officers were removing rioters from the Capitol building. ECF No. 1-

1 at 5. The video footage also showed officers pushing rioters outside the East Rotunda door as

they screamed obscenities and chanted “USA! USA!”

       During the interaction, Grover makes a number of statements. Grover asked an officer,

“You see a red hat over there? I know its small beans in this (gesturing with his gloved hands). If

you do, maybe toss it up and I’ll grab it.” Additionally, Grover stated, “Smells like CS.” in

reference to an off-camera comment from an unknown person that pepper spray had been

deployed. At 3:32 p.m., Grover exited the Capitol through the East Rotunda doors.

       On April 26, 2021, the Government filed a criminal complaint that charged Grover with

Knowingly Entering or Remaining in a Restricted Building or Grounds without Lawful Authority,

in violation of 18 U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building,

in violation of 18 U.S.C. § 1752(a)(2); Violent Entry and Disorderly Conduct on Capitol Grounds,

in violation of 40 U.S.C. § 5104(e)(2)(D); and Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G). The Government attached to the Criminal

Complaint a Statement of Facts that included screen captures of Grover’s Facebook post and

images of Grover on restricted grounds both outside and inside the Capitol. ECF No. 1-1.

       On May 24, 2021, the Government filed a four-count Information that charged:

                                          COUNT ONE
       On or about January 6, 2021, in the District of Columbia, LOGAN GROVER,
       knowingly entered and remained in the United States Capitol, a restricted building,
       without lawful authority to do so.
       (Entering and Remaining in a Restricted Building, in violation of Title 18, United
       States Code, Section 1752(a)(1))
                                          COUNT TWO
       On or about January 6, 2021, in the District of Columbia, LOGAN GROVER,
       knowingly, and with intent to impede and disrupt the orderly conduct of Government
       business and official functions, engaged in disorderly and disruptive conduct in, and
       within such proximity to, the United States Capitol, a restricted building, when, and



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       so that, such conduct did in fact impede and disrupt the orderly conduct of
       Government business and official functions.
       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of
       Title 18, United States Code, Section 1752(a)(2))
                                        COUNT THREE
               On or about January 6, 2021, in the District of Columbia, LOGAN
       GROVER, willfully and knowingly engaged in disorderly and disruptive conduct
       in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the
       orderly conduct of a session of Congress or either House of Congress.
       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of
       Title 40, United States Code, Section 5104(e)(2)(D))
                                        COUNT FOUR
               On or about January 6, 2021, in the District of Columbia, LOGAN
       GROVER, willfully and knowingly paraded, demonstrated, and picketed in a
       Capitol Building.
       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of
       Title 40, United States Code, Section 5104(e)(2)(G))

ECF No. 7.
                                Discovery Provided to Grover

       The Government has provided Grover with both substantial case-specific discovery and

voluminous global discovery. This discovery includes, and is not limited to:

 Date of Discovery    Discovery made available through either USAFX, Relativity, or Evidence.
  Letter              Com.
 June 4, 2021         1. One report of FBI attempted interview of Loga Grover on February 16,
                      2021.
                      2. Two Metropolitan Police Department body-worn camera videos of
                      Logan Grover in the Capitol on January 6, 2021.
                      3. Two videos of Logan Grover at the Capitol on January 6, 2021 obtained
                      by the FBI from tips.
                      4. Two additional videos of Logan Grover at the Capitol on January 6,
                      2021, including one from the iPhone of a defendant charged in the January
                      6, 2021 Capitol riot.
                      5. One still shot of Logan Grover inside the Capitol Building.
                      6. One FBI surveillance photo of Logan Grover taken on February 19,
                      2021.
                      7. One Facebook post by Logan Grover.
                      8. One Department of Motor Vehicles photo of Logan Grover.
 July 19, 2021        96 files, the contents and designation of which were described in a separate
                      attachment and included CCV footage.
 September 28,        Global discovery consisting of 4,044 files (over 1 terabyte) consisting of
 2021                 U.S. Capitol Police Closed Circuit Video footage from 118 cameras shared
                      to the defense instance of evidence.com, exhibits to previously provided

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                       OPR reports, and internal Metropolitan Police Department investigation
                       reports and exhibits.
 October 5, 2021         Global discovery consisting of 11,176 files (over 3 terabytes) shared to
                           the defense instance of Evidence.com and 1,676 files consisting of
                       District of Columbia Metropolitan Police Department body-worn-camera
                          footage recorded between approximately 1:00 p.m. and 6:00 p.m. on
                         January 6, 2021, also shared to the defense instance of Evidence.com.
 March 30, 2022        An mp4 video at https://projects.propublica.org/parler-capitol-videos/ of
                       Grover inside the Capitol with other rioters as chants of “Fight for
                       Trump!” are loudly heard. Grover can be seen using his cellular phone to
                       take a photograph of himself amongst the crowd.
 April 7, 2022         Google Geofence excel spreadsheet raw data and expert testimony
                       curriculum vitae.

                                          ARGUMENT

I.     Legal Standard.

       Federal Rule of Criminal Procedure 7(c)(1) states, in relevant part, “[t]he … information

must be a plain, concise, and definite written statement of the essential facts constituting the

offense charged and must be signed by an attorney for the government,” and that “[f]or each count,

the indictment or information must give the official or customary citation of the statute, rule,

regulation, or other provision of law that the defendant is alleged to have violated.” Fed. R. Crim.

P. 7(c). A defendant may before trial move to dismiss an information or count thereof for failure

to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). An information is sufficient if it “set[s] out

‘the elements of the offense intended to be charged and sufficiently apprise the defendant of what

he must be prepared to meet.’” United States v. Griffin, 549 F. Supp. 3d 49, 53 (D.D.C.

2021)(quoting United States v. Pickett, 353 F.3d 62, 67 (D.C. Cir. 2004)). When considering a

motion to dismiss an indictment or information, the charging instrument “must be viewed as a

whole and the allegations must be accepted as true in determining if an offense has been properly

alleged.” United States v. Bowdin, 770 F. Supp. 2d 142, 146 (D.D.C. 2011). “In ruling on a motion

to dismiss for failure to state an offense, a district court is limited to reviewing the face of the


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indictment and, more specifically, the language used to charge the crimes.” United States v. Sunia,

643 F. Supp. 2d 51, 60 (D.D.C. 2009). The critical question the Court must decide is “whether the

allegations, if proven, would be sufficient to permit a jury to find that the crimes charged were

committed.” Bowdin, 770 F. Supp. 2d at 146.

II.    The Information is a plain, concise, statement of the essential facts that constitute the
       offenses charged and it is not defective under Rule 12(b)(3)(B) and therefore not
       subject to dismissal.

       Grover argues that the Information is defective because “the alleged facts do not rise to the

level of crimes contemplated by the four [ ] statutes” and “the Government failed to allege [Grover]

engaged in a crime.” ECF No. 41 at 4. In support of this claim, Grover asserts the Information

fails to allege he engaged in misconduct based, seemingly, on the nonaggressive way law

enforcement officers “escort[ed] people out of the Capitol.” Id. at 5. Grover further claims the

Information is defective because it does not “demonstrate” Grover knew he was unlawfully inside

the Capitol. Id.

       Grover’s argument fails because he does not assert the Information is invalid on its face

due to the Government’s failure to satisfy the pleading requirements. To meet basic pleading

requirements the Information “must be a plain, concise, and definite written statement of the

essential facts” which was “signed by an attorney for the government,” and that “[f]or each count,

the … information must give the official or customary citation of the statute, rule, regulation, or

other provision of law that the defendant is alleged to have violated.” Fed. R. Crim. P. 7(c). The

Information satisfies the necessary pleading requirements. Counts One and Two charge Grover

violated 18 U.S.C. §§ 1752(a)(1) and (a)(2), which provide in relevant part:

       (a) Whoever--




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       (1) knowingly enters or remains in any restricted building or grounds without lawful

       authority to do so;

       (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

       business or official functions, engages in disorderly or disruptive conduct in, or within such

       proximity to, any restricted building or grounds when, or so that, such conduct, in fact,

       impedes or disrupts the orderly conduct of Government business or official functions;

       (c) In this section--

       (1) the term “restricted buildings or grounds” means any posted, cordoned off, or otherwise

       restricted area—

               (B) of a building or grounds where the President or other person protected by the

               Secret Service is or will be temporarily visiting;

               (C) of a building or grounds so restricted in conjunction with an event designated

               as a special event of national significance;

18 U.S.C. § 1752. The statute provides three definitions for the term “restricted buildings and

grounds,” see § 1752(c)(1), including “any posted, cordoned off, or otherwise restricted area . . .

of a building or grounds where the President or other person protected by the Secret Service is or

will be temporarily visting,” § 1752(c)(1)(B). Through a cross-reference, § 1752 makes clear—

and Grover does not appear to dispute—that “person[s] protected by the Secret Service” include

the Vice President. § 1752(c)(2); see § 3056(a)(1). The proscribed conduct within a “restricted

building or grounds” includes, as relevant here, knowingly and unlawfully entering or remaining,

§ 1752(a)(1), and knowingly and with intent to impede or disrupt government business, engaging

in “disorderly or disruptive conduct” that “in fact, impedes or disrupts” government business,” §

1752(a)(2). The Information tracks the statutory language, see ECF No. 7 at 1-2 (Counts One and



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Two), and as such satisfy Fed. R. Crim. P. 7(c) requirement that Counts One and Two each contain

a “plain, concise, and definite written statement of the essential facts.”

        Counts Three and Four charge Grover violated 40 U.S.C. §§ 5104(e)(2)(D) and (e)(2)(G),

which states, in relevant part:

        (e) Capitol Grounds and Buildings security.--

            (2) Violent entry and disorderly conduct.--An individual or group of individuals may

            not willfully and knowingly--

                (D) utter loud, threatening, or abusive language, or engage in disorderly or

                disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings

                with the intent to impede, disrupt, or disturb the orderly conduct of a session of

                Congress or either House of Congress, or the orderly conduct in that building of a

                hearing before, or any deliberations of, a committee of Congress or either House of

                Congress;

                (G) parade, demonstrate, or picket in any of the Capitol Buildings.

40 U.S.C. § 5104. Counts Three and Four, see ECF No. 7 at 2, track the statutes language and as

such also satisfy Fed. R. Crim. P. 7(c).

        Grover misunderstands the purpose behind a pre-trial motion to dismiss under Rule

12(b)(3)(B)(v) for failure to state an offense when he asserts, “the Government’s allegations fall

short of explaining how Mr. Grover knew he could not be in the U.S. Capitol.” ECF No. 41 at 5.

Moreover, the examples Grover cites, the removal of rioters from the Capitol by law enforcement

officers and an acquittal after the trial of a January 6 defendant who claimed officers let him inside

the Capitol are factual matters outside the scope of a motion to dismiss under Rule 12(b)(3)(B)(v).

Grover may press those claims at trial, of course, but they play no role at this stage in the litigation.



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See United States v. Yakou, 428 F.3d 241, 246-47 (D.C. Cir. 2005) (Rule 12 “does not explicitly

authorize the pretrial dismissal of an indictment on sufficiency-of-the-evidence grounds” unless

the government “has made a full proffer of evidence” or the parties have agreed to a “stipulated

record”). Indeed, “[i]f contested facts surrounding the commission of the offense would be of any

assistance in determining the validity of the motion, Rule 12 doesn’t authorize its disposition

before trial.” United States v. Pope, 613 F.3d 1255, 1259 (10th Cir. 2010) (Gorsuch, J.).

III.   18 U.S.C. § 1752(a) and 40 U.S.C. § 5104(e) are not unconstitutionally vague or
       overbroad in violation of the Fifth and First Amendments.

       i.       18 U.S.C. § 1752(a) and 40 U.S.C. § 5104(e) are not unconstitutionally vague.

       Grover also asserts that Counts One, § 1752(a)(1), is unconstitutionally vague because it

does not “define under what circumstances a citizen of ordinary prudence is on notice of when

someone protected by the secret service is present in a building or grounds ore when the statute

implicates an event of national significance” and that § 1752(a)(1) is also unconstitutionally vague

because it “does not (emphasis in the original) define or enumerate the United States Capitol as a

restricted building, as it does the White House and residence of the Vice President.” ECF No. 41

at 6. Grover further asserts that Count Two, § 1752(a)(2), is also unconstitutionally vague because

the phrase, “’disorderly or disruptive conduct in, or with in such proximity to, any restricted

building or grounds…’” are not defined in the statute. Id. These arguments fail.

       The void for vagueness doctrine is narrow. The challenger must overcome the “strong

presumptive validity that attaches to an Act of Congress,” which has led the Supreme Court “to

hold many times that statutes are not automatically invalidated as vague simply because difficulty

is found in determining whether certain marginal offenses fall within their language.” United

States v. Nat’l Dairy Products Corp., 372 U.S. 29, 32 (1963). A statute is not void for vagueness

simply because its applicability is unclear at the margins, United States v. Williams, 553 U.S. 285,

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306 (2008), or because a reasonable jurist might disagree on where to draw the line between lawful

and unlawful conduct in particular circumstances, Skilling v. United States, 561 U.S. 358, 403

(2010). Rather, a statute is impermissibly vague only if it requires proof of an “incriminating fact”

that is so indeterminate as to invite arbitrary and “wholly subjective” application. Williams, 553

U.S. at 306; see Smith v. Goguen, 415 U.S. 566, 578 (1974). The “touchstone” of vagueness

analysis “is whether the statute, either standing alone or as construed, made it reasonably clear at

the relevant time that the defendant’s conduct was criminal.” United States v. Lanier, 520 U.S.

259, 267 (1997).

       Section 1752 “does not invite arbitrary enforcement by criminalizing common activities or

giving law enforcement undue discretion.” United States v. Griffin, 549 F. Supp. 3d 49, 57 (D.D.C.

2021). “This law is no trap awaiting the unwary.” Id.; see also United States v. Caputo, 201 F.

Supp. 3d 65, 72 (D.D.C. 2016) (rejecting vagueness challenge to § 1752(a)(1); “[T]he White

House’s perimeter, demarcated by an imposing fence and manned by scores of Secret Service

agents, unambiguously provides ordinary people with fair notice that unauthorized entry onto the

grounds is unlawful.”).

       Grover’s claim that a citizen of ordinary prudence would not be on notice that an individual

protected by the Secret Service was present in a restricted building or grounds or that an event of

national significance was not taking place strains credulity. It was common knowledge that certain

members of the House of Representatives would raise objections to certifying certain state

electoral ballots and certain United States Senators were expected to support those objections and

that Vice President Pence would preside over the Joint Session of Congress. See

https://www.foxnews.com/politics/electoral-college-objections-congress-what-to-know

(published on January 6, 2021 at 6:29 a.m. EST) (last viewed April 17, 2022). It was the very



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reason the former President called for the rally that day and then directed rally goers to march to

the Capitol.

        Moreover, Grover’s claim is undermined by his own actions. Photographic evidence

recovered from Grover’s cellular phone will show that Grover knew the area was restricted.

Additionally, Grover is visible in a screen capture from a video downloaded from a social media

site which shows that Grover and other protesters were on restricted grounds outside ornately

decorated Capitol building doors on January 6 where the window panels were either broken or

shattered as another protester points at the law enforcement officers barring the doors. EFC No.

1-1 at 4.

        Grover’s remaining claims posited in a series of hypotheticals that the terms “disorderly

and disruptive conduct” and “proximity” as used in § 1752(a)(2), see EFC No. 41 at 7, also fail

“’because the statute clearly requires an individual to ‘knowingly, and with intent to impede or

disrupt ... engage[ ] in disorderly or disruptive conduct.’” United States v. Puma, No. CR 21-0454

(PLF), 2022 WL 823079, at *17 fn. 6 (D.D.C. Mar. 19, 2022). The Court in Puma further noted

that language in § 1752(a)(2) referencing “proximity to” “merely describes the outer bounds of

where a violation may take place.” Id. And, in any event, no hard interpretive arise in this case

because Grover was not merely proximate to the restricted area; he entered it. Likewise, a

vagueness challenge to the terms “disorderly and disruptive conduct” in 40 U.S.C. § 5104(e)(2)(D)

also fails because § 5104(e)(2)(D) clearly requires that an individual “willfully and knowingly

engage[] in disorderly and disruptive conduct” and that the individual did so in “any Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress or either House of Congress.” 40 U.S.C. § 5104(e)(2)(D).




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       Lastly, Grover claims § 5104(e)(2)(G) is constitutionally infirm and in support of his claim

proposes a hypothetical that asks whether his “presence alone” in the Capitol, a restricted building

on January 6, constituted parading or demonstrating. ECF No. 41at 7. This argument also fails

because a vagueness challenge will only “succeed when a party does not have actual notice of what

activity the statute prohibits ... the vagueness doctrine, unlike the overbreath doctrine, additionally

seeks to ensure fair and non-discriminatory application of the laws, thus reflecting its roots in the

due process clause.” Kolender v. Lawson, 461 U.S. 352, 357 (1983). Grover’s vagueness

challenge cannot succeed because § 5104(e)(2)(G) clearly requires an individual to “willfully and

knowingly parade, demonstrate, and picket in a Capitol Building.” 40 U.S.C. § 5104(e)(2)(G). As

such, Grover knew that marching across restricted Capitol grounds with his fellow protesters after

the “Stop the Steal” rally and past a fence with a posted warning that the grounds were restricted

to enter the Capitol as it was under siege placed him on notice his actions were prohibited.

       ii.     18 U.S.C. § 1752(a) and 40 U.S.C. § 5104(e) are not unconstitutionally
               overbroad.

       Grover claims that 18 U.S.C. § 1752(a) and 40 U.S.C. § 5104(e) are unconstitutionally

overbroad because they “risk criminalizing legitimate First Amendment activity – peaceful protest

within ambiguous locations.” ECF No. 41 at 9.

       Courts analyzing a statute using the First Amendment overbreadth doctrine will find a

statute facially and invalid under the First Amendment if the statute prohibits a substantial amount

of protected speech. United States v. Williams, 553 U.S. 285, 292, (2008). The first step in the

Court’s overbreadth analysis is to construe the statute to determine what the statute covers. Id. at

293, (2008) (holding “[t]he first step in overbreadth analysis is to construe the challenged statute;

it is impossible to determine whether a statute reaches too far without first knowing what the statute

covers.”). A court must then determine whether the statute “criminalizes a substantial amount of

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protected expressive activity.” Id. at 297. Courts are cautious when considering whether to strike

down a statute on its face at the request of a party whose own conduct may be punished despite

the First Amendment and therefore the Supreme Court has recognized that the overbreadth

doctrine is a powerful sanction and therefore employed it with great hesitation and as a last resort.

United States v. Montgomery, No. CR 21-46 (RDM), 2021 WL 6134591, at * 23 (D.D.C. Dec. 28,

2021).

         Grover’s claim fails because he is not charged based on his speech but his actions. United

States v. Mostofsky, No. CR 21-138 (JEB), 2021 WL 6049891, at *12 (D.D.C. Dec. 21, 2021)

(rejecting a January 6 defendant’s First Amendment claim noting “Mostofsky is not being charged

for his views or his expression of them; rather, it is his actions in entering a restricted area in an

alleged effort to impede the Electoral College certification that has landed him under indictment

— actions that wearing a fur vest had nothing to do with”). Relevant here, 18 U.S.C. § 1752(a)

targets only individuals who “knowingly enter[] and remain[] in any restricted building or grounds

without lawful authority to do so,” (§ 1752(a)(1)), and those who “knowingly with the intent to

impede and disrupt the orderly conduct of Government business and official functions engage[] in

disorderly and disruptive conduct in and within proximity to, any restrictive building or grounds”

and that the individual’s conduct impeded or disrupted the orderly conduct of Government

business or official functions.” Likewise, 40 U.S.C. § 5104(e), relevant here, merely targets

conduct in Capitol buildings, i.e., “knowingly engaging in disorderly and disruptive conduct” §

5104(e)(2)(D), and “knowingly parading, demonstrating, and picketing” and as such do not

implicate constitutionally protected free speech.




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IV.    An order directing the Government to provide a Bill of Particulars is unwarranted
       where the pleadings and discovery provided to Grover provide him with adequate
       notice of the charges to permit Grover to defend himself at trial.

       Alternatively, Grover request that the Court order the Government to file a bill of

particulars because of “the paucity of detail in the charging documents.” ECF No. 41 at 10-11.

Grover’s claim is meritless.

       The purpose of a bill of particulars is “to ensure that the charges brought against a defendant

are stated with enough precision to allow the defendant to understand the charges, to prepare a

defense, and perhaps also to be protected against retrial on the same charges.” United States v.

Butler, 822 F.2d 1191, 1193 (D.C. Cir. 1987). A court should only grant a bill of particular when

“necessary to prevent unfair surprise at trial.” United States v. Hsin-Yung, 97 F. Supp.2d 24, 36-

37 (D.D.C. 2000) (internal citation omitted). If an information “is sufficiently specific, or if the

requested information is available in some other form, then a bill of particulars is not required.”

Butler, 822 F.2d at 1193, see United States v. Lorenzana-Cordon, 130 F.Supp.3d 172, 179 (D.D.C.

2015)(deny motion for bill of particulars and noting that the government had provided extensive

discovery that allowed Defendant to adequately prepare for trial.”)

       Applying these principles, courts have repeatedly concluded that a bill of particulars “is

not a discovery tool or a device for allowing the defense to preview the Government's evidence,

[nor is it] the function of a bill of particulars to provide detailed disclosure of the government's

evidence in advance of trial.” United States v. Brodie, 326 F. Supp.2d 83, 91 (D.D.C. 2004). “It is

not the function of a bill of particulars to provide a detailed disclosure of the government's evidence

in advance of trial.” Overton v. United States, 403 F.2d 444, 446 (5th Cir. 1968); United States v.

Armocida, 515 F.2d 49, 54 (3rd Cir.1975) (bill of particulars is not intended as a vehicle for “whole

sale discovery of the Government's evidence”).



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        Grover’s claim fails first because the Information tracks 18 U.S.C. § 1752(a) and 40 U.S.C.

§ 5104(e) and therefore provide him with sufficient information as to the nature of the charges.

Moreover, the Statement of Facts lays out the nature of the official occasion and government

business underway of the Joint Session of Congress to certify the electoral votes and includes

screen captures of Grover on restricted grounds inside and outside the Capitol. Additionally, the

Government has provided Grover extensive discovery, including CCV footage and the evidence

recovered from his cellular phone. As such, Grover has failed to establish the need for the issuance

of a bill of particulars.

                                         CONCLUSION

        For the foregoing reasons, Grover’s motion should be denied.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
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                                         CERTIFICATION

          This is to certify that on this 20th day of April 2022, undersigned counsel served a copy of

foregoing Response in Opposition to Defendant’s Motion to Dismiss Based Upon Defective

Information and Unconstitutional Vagueness and Overbreath and in the Alternative Motion for

Bill of Particulars on Defendant via the Court’s CM/ECF addressed to Defendant’s counsels of

record.

                                         By:    /s/ Michael G. James
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